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     Attorneys for Plaintiff
8

9                         UNITED STATES DISTRICT COURT
10
                        SOUTHERN DISTRICT OF CALIFORNIA

11   JORDAN BEAL, individually and on      )          Case No. 3:21-cv-00030-JLS-DEB
12   behalf of all others similarly situated,
                                           )
                                           )          NOTICE OF VOLUNTARY
13
     Plaintiff,                            )          DISMISSAL OF THE INDIVIDUAL
14                                         )          CLAIMS WITH PREJUDICE AND
            vs.                            )          THE PUTATIVE CLASS CLAIMS
15
                                           )          WITHOUT PREJUDICE
16   VICKEY LI d/b/a ONEPIECE WORK, )
17
     and DOES 1 through 10, inclusive, and )
     each of them,                         )
18                                         )
19   Defendant.                            )
                                           )
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22
           NOTICE IS HEREBY GIVEN that Plaintiff, pursuant to Federal Rule of

23   Civil Procedure 41(a)(1), hereby voluntarily dismisses the entire case with
24
     prejudice as to the individual claims and without prejudice as to the putative class
25

26   claims. Each party shall bear their own costs and fees. Defendant has neither
27
     answered Plaintiff’s Complaint, nor filed a motion for summary judgment.
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                                         Notice of Dismissal - 1
     Case 3:21-cv-00030-JLS-DEB Document 6 Filed 07/14/21 PageID.24 Page 2 of 3



1
     Accordingly, this matter may be dismissed with prejudice and without an Order of
2
     the Court.
3

4          RESPECTFULLY SUBMITTED this 14th day of July, 2021.
5

6
                             By:    /s/Todd M. Friedman
                                    Todd M. Friedman, Esq.
7
                                    Law Offices of Todd M. Friedman, P.C.
8                                   Attorney for Plaintiff
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                                      Notice of Dismissal - 2
     Case 3:21-cv-00030-JLS-DEB Document 6 Filed 07/14/21 PageID.25 Page 3 of 3



1
     Filed electronically on this 17th day of June, 2021, with:
2
     United States District Court CM/ECF system
3

4    And hereby served upon all parties
5
     Notification sent on this 17th day of June, 2021, via the ECF system to:
6

7    Honorable Janis L. Sammartino
     Honorable Magistrate Daniel E. Butcher
8
     United States District Court
9    Southern District of California
10
     And all Counsel of Record on the electronic service list.
11

12
     By: /s/Todd M. Friedman
13
         Todd M. Friedman
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                                        Notice of Dismissal - 3
